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 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    OAKLAND DIVISION

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 ADMINISTRATIVE MOTION TO FILE
14         v.                                    UNDER SEAL

15   NSO GROUP TECHNOLOGIES LIMITED              Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,
16                                               Action Filed: 10/29/2019
                 Defendants.
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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies

 2 Limited and Q Cyber Technologies Limited submit this Administrative Motion to File Under Seal

 3 the indicated portions of (1) the Declaration of Matthew Dawson filed concurrently with this

 4 Motion (“Dawson Declaration”) and (2) the Objections to Reply Evidence (the “Objections”)

 5 (collectively, the “Sealed Documents”).

 6          The Motion is based upon the points and authorities set forth herein, as well as those facts

 7 attested to in the Dawson Declaration.

 8 I.       BACKGROUND

 9          The Court stayed discovery in this case shortly after Plaintiffs served their First Set of RFPs

10 on June 4, 2020. (Dawson. Decl. ¶ 2.) After the stay ended, the Court instructed the parties to

11 meet and confer regarding the effect of Israeli law on Plaintiffs’ RFPs. (Id.) The parties met and

12   conferred but could not reach a resolution, forcing Defendants to file a motion for protective order

13   on March 30, 2023. (Id.) On November 15, 2023, the Court denied NSO’s motion for protective

14   order. (Dkt. No. 233.) The parties have since conducted substantial discovery, which has required

15   NSO to produce certain highly confidential information and materials in accordance with Israeli

16   law. (Dawson Decl. ¶ 2.) For additional information, the Court is respectfully referred to

17   paragraphs 2-12 of the accompanying Dawson Declaration. The parties have filed their dispositive

18 motions and Defendants now file objections to evidence that Plaintiffs submitted in connection
19 with their reply briefing. (Dawson Decl. ¶ 2.)

20 II.      LEGAL STANDARD

21          Although courts recognize a general right to inspect and copy public records, “access to

22 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

23 (9th Cir. 2006). A party seeking to seal materials submitted with a motion for summary judgment

24 must demonstrate that there are compelling reasons to keep the documents under seal. See Ctr. for

25 Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02 (9th Cir. 2016); Fed. Deposit Ins.

26 Corp. v. Bayone Real Estate Inv. Corp., 2017 WL 1398311, at *2 (N.D. Cal. Apr. 19, 2017). It is

27 in the “sound discretion of the trial court” to determine what constitutes a “compelling reason.” In

28 re Da Vinci Surgical Robot Antitrust Litig., 2024 WL 1687645, at *1 (N.D. Cal. Apr. 17, 2024).
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 1           As an initial matter, courts have found compelling reasons to seal traditionally non-public

 2   government information. See Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., 2019 WL

 3   11638962, at *2 (D. Nev. June 20, 2019). For additional authority on this topic, the Court is

 4 respectfully referred to Paragraph 6 of the Dawson Declaration.

 5           In addition, “[c]ompelling reasons justifying sealing court records generally exist when

 6   such “court files might . . . become a vehicle for improper purposes” such as “releas[ing] trade

 7   secrets [] or as sources of business information that might harm a litigant’s competitive standing.”

 8   Hyundai Motor, 2019 WL 11638962, at *1; see also Grace v. Apple, Inc., 2019 WL 12288173, at

 9   *3 (N.D. Cal. Aug. 22, 2019) (“Competitive harm and security concerns can qualify as compelling

10   reasons.”). Courts have thus found that compelling reasons exist to seal “proprietary information

11   concerning [a party’s] technology and internal business operations” and “descriptions of [a party’s]

12   proprietary technology.” Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL 706975, at *1

13   (N.D. Cal. Feb. 26, 2013); see also Finjan, Inc. v. Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D.

14   Cal. Feb. 9, 2016) (recognizing “compelling reasons to seal . . . source code directories [and]

15   information about the technical operation of the products”). 1

16   III.    ARGUMENT

17           As explained below, compelling reasons exist to seal the Sealed Documents.

18           First, the Sealed Documents contain highly sensitive, non-public information, the

19   disclosure of which would prejudice Defendants and parties not before the Court. See, e.g.,

20   Compal Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v.

21   Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017);

22   Strauss v. Credit Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011). For additional

23   argument, NSO respectfully refers the Court to Paragraph 6 of the Dawson Declaration.

24           Second, the Sealed Documents include information about NSO’s confidential technology

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       See also Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 3718566, at *1 (N.D. Cal. Aug. 7,
27   2019) (compelling reasons support sealing “confidential business information in the form of
     license agreements, financial terms, details of confidential licensing negotiations, and business
28   strategies”) (internal quotation marks omitted).
         DEFENDANTS’ ADMINISTRATIVE                   2                        Case No. 4:19-cv-07123-PJH
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 1   and other trade secrets. Courts have routinely held that confidential business information satisfies

 2   the “compelling reasons” standard. See In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D.

 3   Cal. Nov. 8, 2017) (concluding that the parties established compelling reasons to file under seal

 4   records that implicate “confidential business information” subject to confidentiality agreements);

 5   Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023). This includes

 6   technological information. See Transperfect Global, 2013 WL 706975, at *1. The nature of

 7   NSO’s business requires that such information be kept confidential, and NSO would suffer

 8   competitive harm if this information were broadly disclosed to the public and to potential

 9   competitors.   NSO’s government customers would also be prejudiced by disclosure of such

10   information. Plaintiffs have sought to seal equivalent confidential information about their own

11   business and technology.

12          The Dawson Declaration Supporting This Motion. As the Dawson Declaration itself

13   makes clear, it contains highly sensitive, non-public information, the disclosure of which would

14   prejudice Defendants and other parties not before the Court. See Dawson Decl. ¶¶ 2, 4-6.

15          Portions of the Objections. Defendants have indicated certain portions of the Objections

16 that there are compelling reasons to seal. The Objections contain references to information that is

17 subject to the legal restrictions and confidentiality obligations discussed at ¶¶ 2 and 4-6 of the

18 Dawson Declaration. Regardless, the Objections discuss highly confidential information about the
19 research, development, and functioning of Defendants’ technologies, all of which warrants sealing

20 to prevent substantial harm to Defendants’ business and to Defendants’ government customers.

21 See, e.g., Finjan, 2016 WL 7429304, at *2; Transperfect, 2013 WL 706975, at *1; Synchronoss,

22 2019 WL 3718566, at *1.

23          As shown above and in the Dawson Declaration, compelling reasons exist to seal each of

24 the Sealed Documents. Defendants have analyzed each of the documents being filed, and for each,

25 Defendants are asking the Court to file under seal only the minimum necessary to meet their legal

26 obligations and to preserve their confidential information.

27 IV.      CONCLUSION

28          For the reasons set forth above and in the accompanying Dawson Declaration, Defendants
       DEFENDANTS’ ADMINISTRATIVE                     3                        Case No. 4:19-cv-07123-PJH
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 1   request that the Court grant this Motion and order the Sealed Documents to be kept under seal.

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 3   DATED: October 25, 2024                         KING & SPALDING LLP
 4                                                   By: /s/Aaron S. Craig
                                                         JOSEPH N. AKROTIRIANAKIS
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                                                         TECHNOLOGIES LIMITED and Q
 7                                                       CYBER TECHNOLOGIES LIMITED

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       DEFENDANTS’ ADMINISTRATIVE                    4                       Case No. 4:19-cv-07123-PJH
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